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May 20, 2022

Honorable Lee Yeakel

US District Judge

501 West 5" Street 7300
Austin, Tx 78701

Re: Ryan Taylor Faircloth

Your Honor,

My name is Rene A Mendoza. | am 54yrs of age and Ryan T
Faircloth’s Biological father. | currently work for Southwest Airlines
going on 8 years and co-founder of a new business with my son Ryan
early this year called The Cemetery Stories. The business is new and |
could not have done this with out Ryan’s help in making our website
www.thecemeterystories.com. Ryan has been instrumental in the
launching of what wilt be his second business venture and it looks to be
promising once all is in place.
| would like to personally thank you for allowing me to catch up with my
son these last few months. As a father and son, Ryan and | have missed
out on so much time together due to him living in another city most his
life and me working two jobs to keep up with my father responsibility’s.
| also have two teen age daughters Natalie, and Caroline Mendoza. Who
are emotionally distraught over Ryan being sent to prison and also his
action that has brought us here today. We are a small family and Ryan is
a very big piece of our lives and happiness. His sisters will be emotionally
scarred too not being able to spend their early years with their big

brother that they look up to. Ryan’s actions in Sept 2021 do not define
him or his character.

Growing up Ryan was an alter boy for his church and school St Matthews,
Church of San Antonio Texas. Ryan has always been active in sports and
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in his community. He recently donated over a hundred tennis balls to the
humane society. He has also reunited 2 stray dogs to their owners by
picking them up and taking them to a vet to check for microchips. Ryan
also has a dog of his own that he is. very fond of named Barker. Needless
to say, Ryan is an animal lover and loves to help when help is needed. !
respectfully ask that you consider several different Character traits and |
pray that you would consider outside the realm on this case. Ryan has no
past criminal record and had never spent a minute in jail until this
incident. Ryan has had a hard childhood emotionally and has nightmares
of what he did and tells me he is sorry for what he has done daily. We
have cried many nights hoping this was all a dream. The reality is hard to
bare, and we pray that you allow Ryan and us asa family to continue with
his rehabilitation and dismiss any jail time and allow Ryan probation or
house arrest. Ryan will live with his actions for the rest of his life and the
lessons will always be lifelong. Ryan lost his first business immediately
after his actions. We ask that you please allow us to continue with his
rehabilitation with the very people that love him the most, his family.
Both grandmothers are fighting health issues, with a long sentencing this
could be the last years he would spend with them. We ask for
consideration that the actions were driven from drug use and alcohol.
Ryan has continued with his sobriety since his actions and will continue
to have lots of support from family and friends. On behalf of the
Mendoza family, we apologize for any emotional distress to the people
of Austin and the State of Texas. We thank the lord every day that noone
was injured nor was that ever the intent. We hope that you would
consider all aspects of this case and the fact that he has no past criminal
record.

Sincerely,

Rene A fe ee
